                                   Case 16-11893-PDR                           Doc           Filed 03/02/21           Page 1 of 3
 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)            (post publication draft)
 Debtor 1              Jorge G. Bica
                       __________________________________________________________________

 Debtor 2               Flerida Bica
                        ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________             FL
                                                                District of __________
                                                                                             (State)
 Case number             16-11893-PDR
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                             10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust, N.A. as Trustee of the Lodge Series IV Trust c/o
                                                                                                                             Court claim no. (if known):
 Name of creditor:                ______________________________________
                                  BSI Financial Services
                                                                                                                             10
                                                                                                                             _________________
                                                                                                       3057____ ____ ____
                                                                                                       ____
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                3301 NORTH 47 TERRACE UNIT 114
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  LAUDERDALE LAKES, FL 33319
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  q     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

  q     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                              1,709.57
                                                                                                                                               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

  q     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                               ____/_____/______
                                                                                                  MM / DD / YYYY

  q     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                      (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                             +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                                     (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                               ____/_____/______
        due on:                                                                                   MM / DD / YYYY


Form 4100R                                                         Response to Notice of Final Cure Payment                                         page 1
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Debtor 1        Jorge G. Bica
                _______________________________________________________                      Case number           16-11893-PDR
                                                                                                           (if known) _____________________________________
                First Name      Middle Name              Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
  n all payments received;
  n all fees, costs, escrow, and expenses assessed to the mortgage; and
  n all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

  q      I am the creditor.
  q      I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               û /s/ Melbalynn Fisher
                   __________________________________________________
                   Signature
                                                                                             Date    03 02 2021
                                                                                                     ____/_____/________




 Print             Melbalynn Fisher
                   _________________________________________________________                 Title   Authorized Agent
                                                                                                     ___________________________________
                   First Name                      Middle Name        Last Name




 Company           Ghidotti Berger LLP
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1920 Old Tustin Avenue
                   _________________________________________________________
                   Number                 Street


                   Santa Ana, CA 92705
                   ___________________________________________________
                   City                                               State       ZIP Code




 Contact phone      949 _____–
                   (______) 427 _________
                                2010                                                               bknotifications@ghidottiberger.com
                                                                                             Email ________________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                         page 2
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                                    CERTIFICATE OF SERVICE
       On March 2, 2021, I served the foregoing documents described as Response to Notice of Final
Cure Payment on the following individuals by electronic means through the Court’s ECF program:
        COUNSEL FOR DEBTOR                       US TRUSTEE
        Chad T Van Horn                          US Trustee
        Chad@cvhlawgroup.com                     USTPRegion21.MM.ECF@usdoj.gov

        CHAPTER 13 Trustee
        Robin R Weiner
        ecf@ch13weiner.com

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                          /s/ Michaela Rice
                                                          Michaela Rice




       On March 2, 2021, I served the foregoing documents described as Response to Notice of Final
Cure Payment on the following individuals by depositing true copies thereof in the United States mail at
Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:
        DEBTOR
        Flerida Bica
        27 Thornbrooke Dr
        Hiram, GA 30141



        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                         /s/ Michaela Rice
                                                         Michaela Rice
